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                                                                              FU DW                   .
                                                                                                      c.

                                 UNITED STATES DISTR ICT                        AP2 2 S 2213
                               COURT SO UTH ERN DISTRICT O F                   î.
                                         FLORID A                               >      ENM UARC
                                                                                              G IRE
                                                                                    ctlqKu: Dlsmc'r
                                                                                     s.o.dG ..w.eB.

 UNITED STATES O FAM ERICA ,
                                           5
                             Plaintiff,    j
                                                 Case No 11-80205-CR-MARRA/HOPKlNS

 M ITC HELL J.STEIN,                       5
                                           5
                             Defendant. j
                                             l



                     DEFENDAN T M ITCH ELL J.STEIN'S W ITNESS LIST

           M r.Stein respectfully stlbm its the attached list of witnesses who potentially may

    be called at trial by the defense. M r. Stein also adopts the w itness list subm itted by the

    G overnm ent and reserves the right to call any witnesses identified therein.ln addition,M r.

    Stein reserves the right to am end and supplem ent this W itness List as trial proceeds.Out

    of an abundance ofcaution,the attached listisover-inclusive.




                                                      Respw t lIy sub itted,


                                                      M itchellJ.Stein,Pro
                                                      Se,.Em ail:
                                                       private.oceibod.zoca
                                                      p ail.com ;O flice:
                                                      1551N .FlaglerDr..
                                                      W estPalm Beach,
                                                      Florida 33401.
Case 9:11-cr-80205-KAM Document 159 Entered on FLSD Docket 04/30/2013 Page 2 of 5


                                   CERTIFICATE O F SERW CE
           I HEREBY CERTIFY thata true and correctcopy ofthe foregoing docum enthas been

   filed w ith the Clerk of the Courtand uploaded into the CM /ECF System which w ill send a

   notice of electronic filing to the follow ing counselof record orpro se parties identified in the

    Service List below in the m anner specified, either via transm ission of N otices of Electronic
    Filing generated by CM /ECF or in som e other authorized m anner for those counselor parties

    who are notauthorized to receive electronically N otices ofElectronic Filing on this 28th day of

    April, 2013.l further certify that I have provided the DOJ w ith the foregoing docum ent by

    Em ail,ashasbeen ourcustom and agreem entbetw eenthe parties.


    A lbertSteiglitz,Esq.
    Kevin B.M uhlendortlEsq.
    U.S.Departm entofJustice
    Crim inalD ivision - Fraud Section
    1400 New York Avenue, 4thjrjoor
    W ashington,DC 2005
                                                                                      %
                                                                              <           *

                                                       M ITCHELLJ.STEIN
Case 9:11-cr-80205-KAM Document 159 Entered on FLSD Docket 04/30/2013 Page 3 of 5




            Daphne Bell

            JenniferBlack

            M ichaelBoliek


     4.     JamesN .Fiedler


     5.     Joseph Galli


     6.     W illieGault


            Tracey Ham pton-stein


      X     W illiam M atthews


      9.    RowlandPerkins(RuIe15Deposition
            LodgedW iththeCourt)

      l0.   Norma Provencio


      11.   Jared Scharf


      12.   G ary Slossberg


            Adam Usdan


            John Nvoodbury


      15.   Sam W olff
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     16.    Christina Carter


     17.    M artin Carter


     18.    NationalSecurities(Custodian)

     19.    Pam ela Bunes


            RegalSecurities(Custodian)

            M ark N evdahl


     22.    JenniferBlack


     23.    Budim irD rakulic


     24.    WorldEquityGroup(Custodian)

            John W oodbury


     26.    BattelleM emoriallnstitute(Custodian)

     27.    David Jones


     28.    Adam Usdan


     29.    Kenneth Londoner


     30.    Tom Ronk


      31.   Jane Greene


      32.   Cranford Scott
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            ClairLaFrance


            Alaine Sosebee


            Susan Keitt


     36.    SecuritiesandExchangeComm ission(Adam Eisner)
            (OnIytoproduceoriginaldepositiontranscripts,anaudio
            transcript,and otherevidence ofauthenticity ofthese
            priorrecorded statem ents- the partieswere unableto
            stipulateto allowingtheSEC producingtheseitemsvoluntarily.)

     37.    Eric W ittenberg
